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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Carolyn Perkins,                           )
                                           )
      Plaintiff,                           )
                                           )
      v.                                   )      No.   13 C 2615
                                           )
Asset Acceptance, LLC, a Delaware          )
limited liability company,                 )
                                           )
      Defendant.                           )      Jury Demanded

                                       COMPLAINT

      Plaintiff, Carolyn Perkins, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violations of the FDCPA, and alleges:

                              JURISDICTION AND VENUE

      1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

      2.      Venue is proper in this District because: a) parts of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                         PARTIES

      3.      Plaintiff Carolyn Perkins ("Perkins"), is a citizen of the State of Arizona,

from whom Defendant attempted to collect a delinquent consumer debt that she

allegedly owed for a GEMB/Care Credit Dental account, despite the fact that she was

represented by the legal aid attorneys at the Chicago Legal Clinic's Legal Advocates for

Seniors and People with Disabilities program ("LASPD"), located in Chicago, Illinois.
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       4.     Defendant, Asset Acceptance, LLC (“Asset"), is a Delaware limited liability

company that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or the telephone to collect, or attempt to collect, directly or

indirectly, delinquent consumer debts. Asset operates a nationwide delinquent debt

collection business, and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois. In fact, Defendant Asset was acting

as a debt collector, as that term is defined in the FDCPA, as to the delinquent consumer

debt it attempted to collect from Plaintiff.

       5.     Defendant Asset is a bad debt buyer that buys up large portfolios of

delinquent consumer debts for pennies on the dollar, which it then seeks to collect upon

directly, or through other debt collectors.

       6.     Defendant Asset is authorized to do business in the State of Illinois and

maintains a registered agent within the State of Illinois, see, record from the Illinois

Secretary of State, attached as Exhibit A. In fact, Defendant Asset conducts extensive

and substantial business in Illinois.

       7.     Defendant Asset is licensed as a debt collection agency in the State of

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, Defendant Asset acts as a collection agency in Illinois.

                                 FACTUAL ALLEGATIONS

       8.     Ms. Perkins is a senior citizen, with limited assets and income, who fell

behind on paying her bills, including a debt she allegedly owed for a GEMB/Care Credit

Dental account. At some point in time after that debt became delinquent, Defendant

Asset allegedly bought/obtained Ms. Perkins’s debt, and when Defendant began trying



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to collect this debt from her, she sought the assistance of legal aid attorneys at the

Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendant’s collection actions.

       9.     Specifically, Defendant Asset sent Ms. Perkins a collection letter, dated

December 1, 2012, demanding payment of the GEMB/Care Credit Dental debt. A copy

of this collection letter is attached as Exhibit C.

       10.     Accordingly, on January 21, 2013, one of Ms. Perkins's attorneys at

LASPD informed Defendant Asset that Ms. Perkins was represented by counsel, and

directed Defendant Asset to cease contacting her, and to cease all further collection

activities because Ms. Perkins was forced, by her financial circumstances, to refuse to

pay her unsecured debt. Copies of this letter and fax confirmation are attached as

Exhibit D.

       11.    Nonetheless, Defendant Asset then sent Ms. Perkins a collection letter,

dated February 1, 2013, demanding payment of the GEMB/Care Credit Dental debt. A

copy of this collection letter is attached as Exhibit E.

       12.    Accordingly, on March 19, 2013, Ms. Perkins's LASPD attorney had to

send another letter, again directing Asset to cease communications and to cease

collections. Copies of this letter and fax confirmation are attached as Exhibit F.

       13.    Defendant’s collection actions complained of herein occurred within one

year of the date of this Complaint.

       14.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).



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                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      15.    Plaintiff adopts and realleges ¶¶ 1-14.

      16.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      17.    Here, the letter from Ms. Perkins's agent/attorney, LASPD, told Defendant

to cease communications and cease collections (Exhibit D). By continuing to

communicate regarding this debt and demanding payment (Exhibit E), Defendant Asset

violated § 1692c(c) of the FDCPA.

      18.    Defendant Asset’s violation of § 1692c(c) of the FDCPA renders it liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      19.    Plaintiff adopts and realleges ¶¶ 1-14.

      20.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      21.    Defendant knew, or readily could have known, that Ms. Perkins was

represented by counsel in connection with her debts because her attorneys at LASPD



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had informed Defendant, in writing, that Ms. Perkins was represented by counsel, and

had directed a cessation of communications with Ms. Perkins (Exhibit D). By sending a

collection letter to Ms. Perkins (Exhibit E), despite being told that she was represented

by counsel, Defendant violated § 1692c(a)(2) of the FDCPA.

       22.    Defendant’s violation of § 1692c(a)(2) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                  PRAYER FOR RELIEF

       Plaintiff, Carolyn Perkins, prays that this Court:

       1.     Find that Defendant’s debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Perkins, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Carolyn Perkins, demands trial by jury.

                                                  Carolyn Perkins,

                                                  By: /s/ David J. Philipps___
                                                  One of Plaintiff's Attorneys

Dated: April 8, 2013




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